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                                                                               2019 Apr-11 PM 11:57
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ALABAMA
                        JASPER DIVISION

Timothy Jarrod COLBURN, et al., )
                                )
    Plaintiffs,                 )
                                )
vs.                             )                 CASE NUMBER:
                                )                  6:15-cv-1789-TMP
Susan ODOM, et al.,             )
                                )
    Defendants.                 )

                     FIRST AMENDED COMPLAINT

      COME NOW the Plaintiffs, Cecil Phillip Jean, Blackwell, by and

through Plaintiffs’ attorney of record, in the above-styled case and file this

their First Amended Complaint and shows unto this Honorable Court as

follows:



I.   INTRODUCTION:

1.    This is a civil action for compensatory, statutory, and punitive

      damages and for declaratory relief. Plaintiffs request this Honorable

      Court declare that the acts and/or omissions by the Defendants were

      unconstitutional under the United States Constitution; and, by an

      award of compensatory, statutory, and punitive damages, compensate

      Plaintiffs for the violations of Plaintiffs’ constitutional rights sufficient

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      to deter the Defendants from further participation in such

      unconstitutional acts and/or omissions.



II.   JURISDICTION and VENUE:

2.    This action arises under and is brought pursuant to 42 U.S.C. § 1983

      to remedy the deprivations, under color of State law, of rights

      guaranteed   by   the   Fourth,     Fifth,   Eighth,   and   Fourteenth

      Amendments to the United States Constitution. Plaintiffs’ claim for

      declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2202 and

      Rules 57 and 65 of the Federal Rules of Civil Procedure. This Court

      has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

      1343.

3.    The individual Defendants reside in Walker County, Alabama, and

      the State Government, the Walker County Circuit Clerk Office, is

      located entirely within Walker County, Alabama, and a substantial

      part of the events or omissions giving rise to Plaintiffs’ claims

      occurred in Walker County, Alabama. Venue is proper in the United

      States District Court for the Northern District of Alabama pursuant to

      28 U.S.C. §§ 1391(b)(1) and 1391(b)(2).       Plaintiffs assert that the

      Jasper Division is the proper Division of the United States District

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      Court for the Northern District of Alabama for the filing of this action.



III. THE PARTIES:

4.    The Plaintiff, Timothy Jarrod Colburn, is an adult male citizen of

      Walker County, Alabama, over the age of nineteen (19) years.

5.    The Plaintiff, David Edward Rhodes, is an adult male citizen of

      Walker County, Alabama, over the age of nineteen (19) years.

6.    The Plaintiff, Joseph Anthony Elliott, is an adult male citizen of

      Walker County, Alabama, over the age of nineteen (19) years.

7.    The Plaintiff, Daniel Rudolph Cassels, is an adult male citizen of

      Walker County, Alabama, over the age of nineteen (19) years.

8.    The Plaintiff, Todd Michael Harrison, is an adult male citizen of

      Walker County, Alabama, over the age of nineteen (19) years.

9.    The Plaintiff, Howard Derrick Butler, is an adult male citizen of

      Walker County, Alabama, over the age of nineteen (19) years.

10.   The Plaintiff, Landa L. Clark, is an adult female citizen of Walker

      County, Alabama, over the age of nineteen (19) years.

11.   The Plaintiffs, Gary Lynn Blackwell, is an adult male citizen of Walker

      County, Alabama, over the age of nineteen (19) years.

12.   The Defendant, Susan Odom, (hereinafter referred to as “Odom”), is

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      an adult female citizen of Walker County, Alabama, over the age of

      nineteen (19) years who was the Circuit Clerk of Walker County at all

      times relevant to this Complaint. Defendant Odom is sued in her

      individual and official capacities as Circuit Clerk and as supervisor for

      the Walker County Circuit Clerk Office personnel, including Ms.

      Yahn, Ms. Haggard, and Ms. Courington.

IV.   FACTUAL ALLEGATIONS COMMON TO AND

INCORPORATED IN ALL COUNTS:

13.   That the Alabama Rules of Criminal Procedure 4.3 was amended to

      require that a probable cause hearing be held within 48 hours in a

      warrantless arrest situation, as here, where a defendant remains in

      custody, in accordance with the holding in Cty. of Riverside v.

      McLauphlin, 500 U.S. 44 (1991), and reads, in pertinent part, as

      follows:

            Rule 4.3. Procedure upon arrest
            (a) On arrest without a warrant: (1) A person arrested without a
            warrant: (iii) …A judge or magistrate…shall determine whether
            probable cause exists to believe that the defendant committed
            the charged offense, by examining any necessary witness in
            accordance with the procedures for making a probable cause
            determination provided in Rule 2.4. If the judge or magistrate
            finds there is probable cause for the arrest of the person, a
            complaint shall promptly be prepared, filed and served on the
            defendant, and the judge or magistrate shall proceed as
            provided in Rule 4.4 for initial appearance. … If a probable
            cause determination is not made by a judge or magistrate
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                 without undue delay, and in no event later than forty-eight (48)
                 hours after arrest, then, unless the offense for which the person
                 was arrested is not a bailable offense, the person shall be
                 released upon execution of an appearance bond in the amount
                 of the minimum bond set in Rule 7.2, and shall be directed to
                 appear either at a specified time and place or at such time and
                 place as he or she shall be subsequently notified of…

                 Alabama Rules of Criminal Procedure Rule 4.3(a)(1)(iii)1.
                 (Emphasis added.)

14.     That Alabama Rules of Criminal Procedure 2.4 was drafted to be

        consistent with the mandates of the Fourth Amendment to the United

        States Constitution, and reads as follows:

                 Rule 2.4. Duty of Judge or Magistrate Upon Making of
                 a Complaint
                 The judge or magistrate before whom a complaint is made may
                 subpoena for examination any necessary witness. In the event a
                 duly summoned witness fails to appear, the judge or magistrate
                 is authorized to issue a writ of attachment for the defaulting
                 witness, commanding that said witness be brought before the
                 issuing judge or magistrate at once for the purpose of
                 examination. If the judge or magistrate is reasonably satisfied
                 from the complaint and the evidence, if any, submitted that the
                 offense complained of has been committed and that there is
                 probable cause to believe that the defendant committed it,
                 the judge or magistrate shall proceed under Rule 3.1.

                 Alabama Rules of Criminal Procedure Rule 2.4. (Emphasis
                 added.)


15.     That Alabama Rules of Criminal Procedure 3.1(a) was drafted to be

1
 Cited from Alabama Rules of Criminal Procedure Rule 4.3 amended effective March 3, 1992; August 1, 1997.
Consequently, this is the law existing at the time of the Constitutional violations in each instance as set forth in
Plaintiffs’ complaint.
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      consistent with the mandates of the Fourth Amendment to the United

      States Constitution, and reads as follows:

            Rule 3.1 Issuance of Arrest Warrant or Summons
            (a) Issuance.
            Upon return of an indictment, or upon a finding of probable
            cause made pursuant to Rule 2.4, the judge or magistrate
            shall immediately cause to be issued an arrest warrant
            or a summons as provided in Rule 3.2.

            Alabama Rules of Criminal Procedure Rule 3.1(a). (Emphasis
            added.)


16.   That Alabama Rules of Criminal Procedure 3.2(a) reads, in pertinent

      part, as follows:

            Rule 3.2 Contents of Arrest Warrant or Summons
            (a) Arrest Warrant.
            An arrest warrant issued upon a complaint shall be signed by
            the issuing judge or magistrate….

            Alabama Rules of Criminal Procedure Rule 3.2(a). (Emphasis
            added.)



17.   That Alabama Rules of Criminal Procedure 4.4(a) purpose is to

      insert the judicial process between the police and the defendant at the

      earliest practicable time in order to minimize the effects of

      carelessness and abuse and insures procedural compliance with

      Miranda v. Arizona, 384 U.S. 436 (1966), and Escobedo v. Illinois,


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        378 U.S. 478 (1964) as well as provides for the prompt determination

        of the conditions for release and read, in pertinent part, as follows:

                 Rule 4.4 Initial Appearance
                 (a) In General.
                 At defendant’s initial appearance the judge or magistrate shall:
                  (1) Ascertain the defendant’s true name and address and, if
                        necessary, amend the formal charges2 to reflect
                        defendant’s true name, instructing the defendant to
                        notify the court promptly of any changes of address;
                  (2) Inform the defendant of the charges against him;
                  (3) Inform the defendan of the right to be represented by
                        counsel, … and, inform the defendant of the right to
                        remain silent; and
                  (4) Determine conditions of release in accordance with Rule
                        7.3.

                 (b) Felonies Charged by Complaint.
                 An arrest warrant issued upon a complaint shall be signed by
                 the issuing judge or magistrate….

                 Alabama Rules of Criminal Procedure Rule 4.4. (Emphasis
                 added.)


18.     Lela Yahn, (hereinafter referred to as “Yahn”), is an adult female

        citizen of Walker County, Alabama, over the age of nineteen (19)

        years who was acting as a District Court Clerk and Magistrate of the

        Walker County Circuit Clerk Office at all times relevant to this

        Complaint.

2
  Formal charges in this instance means that the defendant has been indicted by the grand jury. See Ala. R. Crim. P.
4.4 Committee Comments. The Committee Comments regarding Rule 4.4(b) make reference to the imposition of
the “additional burden at the initial appearance of informing a defendant charged with a felony but not yet
indicted…”
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19.   Carol Haggard, (hereinafter referred to as “Haggard”), is an adult

      female citizen of Walker County, Alabama, over the age of nineteen

      (19) years who was acting as a District Court Clerk and Magistrate of

      the Walker County Circuit Clerk Office at all times relevant to this

      Complaint.

20.   Debra Courington, (hereinafter referred to as “Courington”), is an

      adult female citizen of Walker County, Alabama, over the age of

      nineteen (19) years who was acting as a District Court Clerk and

      Magistrate of the Walker County Circuit Clerk Office at all times

      relevant to this Complaint.

21.   Mr. Colburn was arrested in Walker County, Alabama, on October 10,

      2013, and immediately carried to the Walker County Jail where he

      was detained.

22.   That the arrest of Mr. Colburn on October 10, 2013, was a

      “warrantless arrest,” as no probable cause determination was made

      prior to the arrest, and the arresting officer was John Blair

      Huddleston (hereinafter referred to as “Huddleston”).

23.   Mr. Rhodes was arrested in Walker County, Alabama, on October 10,

      2013, and immediately carried to the Walker County Jail where he

      was detained.

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24.   That the arrest of Mr. Rhodes on October 10, 2013, was a “warrantless

      arrest,” as no probable cause determination was made prior to the

      arrest, and the arresting officer was Huddleston.

25.   Mr. Elliott was arrested in Walker County, Alabama, on October 10,

      2013, and immediately carried to the Walker County Jail where he

      was detained.

26.   That the arrest of Mr. Elliott on October 10, 2013, was a “warrantless

      arrest,” as no probable cause determination was made prior to the

      arrest, and the arresting officer was Huddleston.

27.   Mr. Cassels was arrested in Walker County, Alabama, on October 10,

      2013, and immediately carried to the Walker County Jail where he

      was detained.

28.   That the arrest of Mr. Cassels on October 10, 2013, was a “warrantless

      arrest” without probable cause and the arresting officer was

      Huddleston.

29.   Mr. Harrison was arrested in Walker County, Alabama, on October 11,

      2013, and immediately carried to the Walker County Jail where he

      was detained.

30.   That the arrest of Mr. Harrison on October 11, 2013, was a

      “warrantless arrest,” as no probable cause determination was made

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      prior to the arrest, and the arresting officer was Huddleston.

31.   Mr. Butler was arrested in Walker County, Alabama, on April 26,

      2014, and immediately carried to the Walker County Jail where he

      was detained.

32.   That the arrest of Mr. Butler on April 26, 2014, was a “warrantless

      arrest,” as no probable cause determination was made prior to the

      arrest, and the arresting officer was Huddleston.

33.   Ms. Clark was arrested in Walker County, Alabama, on June 12, 2014,

      and immediately carried to the Walker County Jail where he was

      detained.

34.   That the arrest of Ms. Clark on June 12, 2014, was a “warrantless

      arrest,” as no probable cause determination was made prior to the

      arrest, and the arresting officer was Huddleston.

35.   Mr. Blackwell was arrested in Walker County, Alabama, on June 12,

      2014, and immediately carried to the Walker County Jail where he

      was detained.

36.   That the arrest of Ms. Blackwell on June 12, 2014, was a “warrantless

      arrest,” as no probable cause determination was made prior to the

      arrest, and the arresting officer was Huddleston.

37.   That Huddleston immediately carried each of the aforementioned

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         Plaintiffs3 to the Walker County Jail (hereinafter referred to as “Jail”)

         at the Walker County Sheriff Department in Walker County, Jasper,

         Alabama, without approaching a judge or magistrate for a probable

         cause determination.

38.      Consequently, a probable cause determination was not made for each

         of their respective arrest prior to each being carried to Jail and being

         detained.

39.      That a probable cause determination was not made by either a judge

         or magistrate within forty-eight (48) hours of either of the Plaintiffs’

         “warrantless arrest” and carried to Jail and detained.

40.      That the Clerks of the Circuit Court of each County, including

         Defendant Odom, have the administrative responsibility for and

         supervision of the records and clerical services of the circuit courts

         and the district courts4 in accordance with applicable general laws

         and rules.

41.      That Defendant Odom is the immediate supervisor of Yahn, Haggard,




3
  The arrest of Mr. Rhodes, Mr. Elliott, and Mr. Cassels are related to each other but not to any of the other
Plaintiffs. The arrest of Ms. Clark and Mr. Blackwell are related to each other but not to any of the other Plaintiffs.
4
  Except as otherwise provided in this article, the clerk of the circuit court shall be ex officio clerk of the district
court within the circuit and shall have administrative responsibility for and supervision of the records and clerical
services of the district court in accordance with applicable general laws and rules. Code of Alabama §12-17-160
(1975). Consequently, the term “District Court Clerk” as used hereinafter simply refers to the “person” or “persons”
who has or have the administrative responsibility for and supervision of the records of the district court.
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        and Courington and is responsible5 for their respective training and

        supervision of their performance.

42.     That Defendant Odom was responsible for insuring that the

        magistrates she assigned were properly trained and that each

        conducted themselves in accordance with the United States

        Constitution, the Alabama Constitution of 1901 and the Alabama

        Rules of Criminal Procedure, including, but not limited to, Rules 2.4,

        3.1, 4.3, 4.4, and 7.2 Alabama Rules of Criminal Procedure.

43.     That the duties of a magistrate include, but are not limited to,

        determining whether probable causes existed in accordance with

        Rules 2.46 and 4.37 and if there was a determination that probable

        cause existed to believe the defendant committed the charged offense

        then the magistrates are required, in accordance with Rule 3.1(a)8 to

        cause an arrest warrant to be issued.

44.      That the duties of a magistrate further include, but are not limited to,

        determining whether probable causes existed in accordance with

        Rules 2.4 and 4.3 and if there was not a determination that probable

        cause existed to believe the defendant committed the charged offense

5
  See Code of Alabama (1975) §§12-17-93, 94, and 160-162.
6
  Alabama Rules of Criminal Procedure Rule 2.4.
7
  Alabama Rules of Criminal Procedure Rule 4.3.
8
  Alabama Rules of Criminal Procedure Rule 3.1(a).
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           inquiry or no determination made within forty-eight (48) hours

           setting appearance bonds in the amount of the minimum bond set in

           Rule 7.29 and conducting an Initial Appearance Hearing in

           accordance with Rule 4.410 after a determination is made that

           probable cause exists to believe that the defended committed the

           charged offense.

45.        That Defendant Odom from time to time assigned Yahn, Haggard,

           and Courington the duties of magistrate as part of their

           responsibilities with the Walker County Circuit Clerks Office

           (hereinafter referred to as “WCCCO”).

46.        That Defendant Odom selected Yahn, Haggard, and Courington and

           assigned them to perform the duties of magistrate and during the

           performance of that duty one of them travelled to the Jail almost

           daily.

47.        That Yahn, Haggard, and Courtington, while acting as magistrates

           travelled to the Jail numerous times during the terms of the Plaintiffs’

           incarceration.

48.        That the Jail personnel were not presented with a warrant justifying

           either of the Plaintiffs’ arrest at the time that each was brought into

9
    Alabama Rules of Criminal Procedure Rule 7.2.
10
     Alabama Rules of Criminal Procedure Rule 4.4.
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      the Jail immediately following their “warrantless arrest,” and neither

      were the magistrates during their visits to the jail, because said

      warrants had not been obtained Huddleston.

49.   That Defendant Odom and Ms. Yahn, Ms. Haggard, and or Ms.

      Courington knew or should have known that each of the arrests of Mr.

      Colburn, Mr. Rhodes, Mr. Elliott, and Mr. Cassels was a “warrantless

      arrest” at the time that each was brought into the jail on October 10,

      2013, because part of the duties of Ms. Yahn, Ms. Haggard, and or

      Ms. Courington, included traveling to the Jail almost daily and

      making a determination of who were the new arrestees, what were

      their charges, and whether probable cause existed to believe that the

      defendant committed the charge in accordance with Rule 2.4 (if it is

      not known that said determination has already been made) and

      thereafter conduct an Initial Appearance Hearing in accordance with

      Rule 4.4.

50.   That Defendant Odom, Ms. Yahn, Ms. Haggard, and or Ms.

      Courington knew or should have known that the arrest of Mr.

      Harrison was a “warrantless arrest” at the time that Mr. Harrison was

      brought into the jail on October 11, 2013, because part of the duties of

      Ms. Yahn, Ms. Haggard, and or Ms. Courington, included traveling to

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      the Jail almost daily and making a determination of who were the

      new arrestees, what were their charges, and whether probable cause

      existed to believe that the defendant committed the charge in

      accordance with Rule 2.4 (if it is not known that said determination

      has already been made) and thereafter conduct an Initial Appearance

      Hearing in accordance with Rule 4.4.

51.   That Defendant Odom, Ms. Yahn, Ms. Haggard, and or Ms.

      Courington knew or should have known that the arrest of Mr. Butler

      was a “warrantless arrest” at the time that Mr. Butler was brought

      into the jail on April 26, 2014, because part of the duties of Ms. Yahn,

      Ms. Haggard, and or Ms. Courington, included traveling to the Jail

      almost daily and making a determination of who were the new

      arrestees, what were their charges, and whether probable cause

      existed to believe that the defendant committed the charge in

      accordance with Rule 2.4 (if it is not known that said determination

      has already been made) and thereafter conduct an Initial Appearance

      Hearing in accordance with Rule 4.4.

52.   That Defendant Odom, Ms. Yahn, Ms. Haggard, and or Ms.

      Courington knew or should have known that each of the arrests of Ms.

      Clark and Mr. Blackwell was a “warrantless arrest” at the time that

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      each was brought into the jail on June 12, 2014, because part of the

      duties of Ms. Yahn, Ms. Haggard, and or Ms. Courington, included

      traveling to the Jail almost daily and making a determination of who

      were the new arrestees, what were their charges, and whether

      probable cause existed to believe that the defendant committed the

      charge in accordance with Rule 2.4 (if it is not known that said

      determination has already been made) and thereafter conduct an

      Initial Appearance Hearing in accordance with Rule 4.4.

53.   That Ms. Yahn, Ms. Haggard, and or Ms. Courington would have been

      privy to who the arresting officer was related to the arrest of each of

      the Plaintiffs.

54.   That the arresting officer of each of the Plaintiffs was Huddleston.

55.   Defendant Odom, Ms. Yahn, Ms. Haggard, and or Ms. Courington

      knew that Huddleston often avoided appearing before them for a

      probable cause determination for days, weeks, and even months, far

      in excess of forty-eight (48) hours set forth in the holding of Cty. of

      Riverside v. McLauphlin.

56.   That in the event that Ms. Yahn, Ms. Haggard, and or Ms. Courington

      did not know that the arrest of each of the Plaintiffs was a

      “warrantless arrest” at the time of each of the Plaintiffs’ initial

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      booking, Defendant Odom, Ms. Yahn, Ms. Haggard, and or Ms.

      Courington had a duty to make that determination within forty-eight

      (48) hours thereafter.

57.   That in the event that Ms. Yahn, Ms. Haggard, and or Ms. Courington

      did not know that the arrest of each of the Plaintiffs was a

      “warrantless arrest” at the time of each of the Plaintiffs’ initial

      booking, Defendant Odom, Ms. Yahn, Ms. Haggard, and or Ms.

      Courington had a duty to make that determination in accordance with

      Rules 2.4 and 4.3 before proceeding forward with an Initial

      Appearance Hearing.

58.   That Defendant Odom was each day provided a current ‘roster’ that

      was generated daily by the Jail which contained the names of all

      inmates in custody on that day which provided Defendant Odom, Ms.

      Yahn, Ms. Haggard, and or Ms. Courington with direct knowledge of

      who remained in custody each day following their initial booking,

      including the names of each of the Plaintiffs during their

      incarceration in the Jail.

59.   That Defendants Odom and Ms. Yahn, Ms. Haggard, and Ms.

      Courington had an obligation imposed upon them by state law in

      accordance with the United States Constitution, to release each of the

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        Plaintiffs upon the execution of an appearance bond in the amount of

        the minimum bond set in Rule 7.2, and each of the Defendants’

        failure to carry out that obligation caused the violations of Plaintiffs’

        individual Constitutional rights including those afforded under the

        Fourth Amendment.

60.     That on October 11, 2013, Ms. Haggard met with Mr. Colburn,

        following his “warrantless arrest” and booking into the Jail on

        October 10, 2013.

61.     That said meeting with Mr. Colburn was characterized as an Initial

        Appearance hearing and Ms. Haggard obtained Mr. Colburn’s

        signature on Form C-8111.

62.     Mr. Colburn’s C-81 stated that he was “charged with committing the

        offense(s) of Trafficking, Upcs [Unlawful Possession of a Controlled

        Substance],         Umcs [Unlawful               Manufacturing            of    a    Controlled

        Substance], Updp [Unlawful Possession of Drug Paraphernalia] in

        this court in violation of 13a-12-231, 13a-12-212, 13a-12-260(c).”

63.     Ms. Haggard advised Mr. Colburn that his bond was set at a secured

        appearance bond in the amount of $3,016,000.00—no probable

        cause determination had yet been made and he remained in jail on a

11
  This form is a form of the State of Alabama Unified Judicial System and titled, Advice of Rights on Initial
Appearance Before Judge or Magistrate (Felony).
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      “warrantless arrest” because he could not make bail as opposed to

      being released on an appearance bond.

64.   That on October 11, 2013, Ms. Haggard met with Mr. Rhodes,

      following his “warrantless arrest” and booking into the Jail on

      October 10, 2013.

65.   That said meeting with Mr. Rhodes was characterized as an Initial

      Appearance hearing and Ms. Haggard obtained Mr. Rhodes’

      signature on Form C-81.

66.   Mr. Rhodes’ C-81 stated that he was “charged with committing the

      offense(s) of Umcs [Unlawful Manufacturing of a Controlled

      Substance], Upcs [Unlawful Possession of a Controlled Substance],

      Updp [Unlawful Possession of Drug Paraphernalia], Poss Marij. 1st

      [Unlawful Possession of Marijuana 1st Degree] in this court in

      violation of 13a-12-218, 13a-12-212, 13a-12-260(c), 13a-12-213.”

67.   Ms. Haggard advised Mr. Rhodes that his bond was set at a secured

      appearance bond in the amount of $1,517,000.00—no probable cause

      determination had yet been made and he remained in jail on a

      “warrantless arrest” because he could not make bail as opposed to

      being released on an appearance bond.

68.   That on October 11, 2013, Ms. Haggard met with Mr. Elliott, following

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      his “warrantless arrest” and booking into the Jail on October 10,

      2013.

69.   That said meeting with Mr. Elliott was characterized as an Initial

      Appearance hearing and Ms. Haggard obtained Mr. Elliott’s

      signature on Form C-81.

70.   Mr. Elliott’s C-81 stated that he was “charged with committing the

      offense(s) of Unlawful Manf 1st [Unlawful Manufacturing of a

      Controlled Substance 1st Degree], Upcs [Unlawful Possession of a

      Controlled   Substance],   Updp     [Unlawful   Possession   of   Drug

      Paraphernalia], Poss Marij. 1st [Unlawful Possession of Marijuana 1st

      Degree] in this court in violation of 13a-12-218, 13a-12-212, 13a-12-

      260(c).”

71.   Ms. Haggard advised Mr. Elliott that his bond was set at a secured

      appearance bond in the amount of $1,516,000.00—no probable cause

      determination had yet been made and he remained in jail on a

      “warrantless arrest” because he could not make bail as opposed to

      being released on an appearance bond.

72.   That on October 11, 2013, Ms. Haggard met with Mr. Cassels,

      following his “warrantless arrest” and booking into the Jail on

      October 10, 2013.

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73.   That said meeting with Mr. Cassells was characterized as an Initial

      Appearance hearing and Ms. Haggard obtained Mr. Cassels signature

      on Form C-81.

74.   Mr. Cassels’ C-81 stated that he was “charged with committing the

      offense(s) of Unlaw Manf [Unlawful Manufacturing of a Controlled

      Substance], Upcs [Unlawful Possession of a Controlled Substance],

      Updp [Unlawful Possession of Drug Paraphernalia], Poss Marij. 1st

      [Unlawful Possession of Marijuana 1st Degree] in this court in

      violation of 13a-12-218, 13a-12-212, 13a-12-260(c).”

75.   Ms. Haggard advised Mr. Cassels that his bond was set at a secured

      appearance bond in the amount of $1,516,000.00—no probable cause

      determination had yet been made and he remained in jail on a

      “warrantless arrest” because he could not make bail as opposed to

      being released on an appearance bond.

76.   That on October 28, 2013, Ms. Yahn met with Mr. Harrison, following

      his “warrantless arrest” and booking into the Jail on October 11, 2013.

77.   That said meeting with Mr. Harrison was characterized as an Initial

      Appearance hearing and Ms. Yahn obtained Mr. Harrison’s signature

      on Form C-81.

78.   Mr. Harrison’s C-81 stated that he was “charged with committing the

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      offense(s) of VDR1 [not a known abbreviation but a clerk’s code for

      Unlawful Possession of Drug Paraphernalia], TRAK [not a known

      abbreviation but a clerk’s code for Trafficking-Methamphetamine]

      MCS1 [Unlawful Manufacturing of Controlled Substance 1st Degree]

      UPCS [Unlawful Possession of a Controlled Substance], VAPM [not a

      known abbreviation] in this court in violation of __________.”

79.   Ms. Yahn advised Mr. Harrison that his bond was set at a secured

      appearance bond in the amount of $2,017,000.00 PROP—no

      probable cause determination had yet been made and he remained in

      jail on a “warrantless arrest” because he could not make bail as

      opposed to being released on an appearance bond.

80.   That on April 28, 2014, Ms. Yahn met with Mr. Butler, following his

      “warrantless arrest” and booking into the Jail on April 26, 2014.

81.   That said meeting with Mr. Butler was characterized as an Initial

      Appearance hearing and Ms. Haggard obtained Mr. Butler’s

      signature on Form C-81.

82.   Mr. Butler’s C-81 stated that he was “charged with committing the

      offense(s) of MCS1 [Unlawful Manufacturing of Controlled Substance

      1st Degree] UPCS [Unlawful Possession of a Controlled Substance]

      VDR1 [not a known abbreviation but a clerk’s code for Unlawful

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      Possession of Drug Paraphernalia] in this court in violation of

      __________.”

83.   Ms. Yahn advised Mr. Butler that his bond was set at a secured

      appearance bond in the amount of $1,016,000.00 PROP—no

      probable cause determination had yet been made and he remained in

      jail on a “warrantless arrest” because he could not make bail as

      opposed to being released on an appearance bond.

84.   That on June 13, 2014, Ms. Yahn met with Ms. Clark, following her

      “warrantless arrest” and booking into the Jail on June 12, 2014.

85.   That said meeting with Ms. Clark was characterized as an Initial

      Appearance hearing and Ms. Yahn obtained Ms Clark’s signature on

      Form C-81.

86.   Ms. Clark’s C-81 stated that she was “charged with committing the

      offense(s) of MCS1 [Unlawful Manufacturing of Controlled Substance

      1st Degree] UPCS [Unlawful Possession of a Controlled Substance]

      VDR1 [not a known abbreviation but a clerk’s code for Unlawful

      Possession of Drug Paraphernalia] TRAK [not a known abbreviation

      but a clerk’s code for Trafficking-Methamphetamine] in this court in

      violation of __________.”

87.   Ms. Yahn advised Ms. Clark that her bond was set at a secured

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      appearance bond in the amount of $2,016,000.00 PROP—no

      probable cause determination had yet been made and she remained

      in jail on a “warrantless arrest” because he could not make bail as

      opposed to being released on an appearance bond.

88.   That on June 13, 2014, Ms. Yahn met with Mr. Blackwell, following

      his “warrantless arrest” and booking into the Jail on June 12, 2014.

89.   That said meeting with Mr. Blackwell was characterized as an Initial

      Appearance hearing and Ms. Yahn obtained Mr. Blackwell’s signature

      on Form C-81.

90.   Mr. Blackwell’s C-81 stated that he was “charged with committing the

      offense(s) of MCS1 [Unlawful Manufacturing of Controlled Substance

      1st Degree] UPCS [Unlawful Possession of a Controlled Substance]

      VDR1 [not a known abbreviation but a clerk’s code for Unlawful

      Possession of Drug Paraphernalia] in this court in violation of

      __________.”

91.   Ms. Yahn advised Mr. Blackwell that his bond was set at a secured

      appearance bond in the amount of $1,016,000.00 PROP—no

      probable cause determination had yet been made and he remained in

      jail on a “warrantless arrest” because he could not make bail as

      opposed to being released on an appearance bond.

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92.        That upon information and belief, the Plaintiffs were not provided

           with a copy of either Form C-8012 or Form C-81 at the time of their

           respective meetings with Haggard or Yahn.

93.        That the only person present at any of the aforementioned meetings

           that were characterized as Initial Appearance hearings who had any

           knowledge of any of the facts and circumstances surrounding was

           each of the respective Plaintiffs.

94.        That Form C-81 which each of the Plaintiffs were directed to sign

           contemplated persons being subject to a “warrantless arrest” and

           further that the “magistrate will determine whether there was

           probable cause for the charges against [each of the Plaintiffs]”

95.        That Rule 2.4 empowers the judge or magistrate before whom a

           complaint with subpoena power to gather evidence and after review if

           the magistrate is reasonably satisfied from the complaint and the

           evidence that the offence complained of has been committed and

           there is probable cause to believe that the defendant committed it the

           magistrate shall proceed under Rule 3.1.

96.        That Rule 3.1 requires that upon the finding of probable cause made

           pursuant to Rule 2.4, the magistrate shall immediately cause to


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     This form is a form of the State of Alabama Unified Judicial System and titled, Order on Initial Appearance.
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      be issued an arrest warrant as provided in Rule 3.2.

97.   That an arrest warrant issued upon complaint (as opposed to grand

      jury indictment) shall be signed by the issuing magistrate.

98.   That Rule 4.4 only then contemplates an Initial Appearance hearing

      after a probable cause determination because Rule 4.4 it speaks

      to the “formal charges.”

99.   That Ms. Haggard did not conduct a probable cause determination

      related to the alleged charges brought against Mr. Colburn, Mr.

      Rhodes, Mr. Elliott, or Mr. Cassels at the time of her initial meeting

      with either of them because no arrest warrant was issued as required

      by Rule 3.1, but instead the probable cause determination was made

      by Ms. Yahn contemporaneously with the issuance of the arrest

      warrants, as follows:

       Probable cause determination Mr. Colburn—November 15, 2013

       Probable cause determination Mr. Rhodes—November 15, 2013

       Probable cause determination Mr. Elliott—November 15, 2013

       Probable cause determination Mr. Cassels—November 15, 2013



100. That Ms. Yahn did not conduct a probable cause determination

      related to the alleged charges brought against Mr. Harrison at the

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     time of her initial meeting with either of them because no arrest

     warrant was issued as required by Rule 3.1, but instead the probable

     cause determination was made by Ms. Yahn contemporaneously with

     the issuance of the arrest warrant, as follows:

      Probable cause determination Mr. Harrison—January 3, 2014



101. That Ms. Yahn did not conduct a probable cause determination

     related to the alleged charges brought against Mr. Butler, Ms. Clark,

     or Mr. Blackwell at the time of her initial meeting with either of them

     because no arrest warrant was issued as required by Rule 3.1, but

     instead the probable cause determination was made by Ms.

     Courington contemporaneously with the issuance of the arrest

     warrants, as follows:

      Probable cause determination Mr. Butler—May 30, 2014

      Probable cause determination Ms. Clark—June 27, 2014

      Probable cause determination Mr. Blackwell—June 27, 2014



102. That at the time of the actual probable cause determination,

     Defendants Odom and Ms. Yahn, Ms. Haggard, and Ms. Courington,

     knew or should have known that each of the Plaintiffs had been

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        incarcerated for far greater than 48 hours and were due to be released

        on an appearance bond.

103. That Defendants Odom and Ms. Yahn, Ms. Haggard, and Ms.

        Courington knowingly, purposely, wantonly, and/or wrongfully or

        unlawfully caused each of the Plaintiffs to be detained and confined in

        custody on a “warrantless arrest” without seeking a probable cause

        determination and without a constitutional adjudication of guilt for

        following approximate number of days:13

                             Number of Days                                     Number of Days
                             Before Probable                                    Before Person
                             Cause Determination                                Released from Jail
                 Mr. Colburn            36                                           35
                 Mr. Rhodes             36                                           42
                 Mr. Elliott            36                                           42
                 Mr. Cassels            36                                           42
                 Mr. Harrison           84                                           44
                 Mr. Butler             34                                           31
                 Ms. Clark              15                                           21
                 Mr. Blackwell          15                                           56


104. That the Plaintiffs were arrested and released on or about the

        following dates from jail:

                 Mr. Colburn       October 10, 2013—November 14, 2013
                 Petition for Writ of Habeas Corpus Filed and Granted

                 Mr. Rhodes                 October 10, 2013—November 21, 2013
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   Habeas corpus petitions were filed on behalf of Mr. Colburn, Mr. Rhodes, Mr. Elliott, Mr. Cassels, and Mr. Butler
for their respective release. Mr. Colburn, Mr. Rhodes, Mr. Elliott, Mr. Cassels, and Mr. Butler incurred substantial
attorney fees related to the habeas corpus petitions.
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           Petition for Writ of Habeas Corpus Filed and Granted

           Mr. Elliott       October 10, 2013—November 21, 2013
           Petition for Writ of Habeas Corpus Filed and Granted

           Mr. Cassels       October 10, 2013—November 21, 2013
           Petition for Writ of Habeas Corpus Filed and Granted

           Mr. Harrison     October 11, 2013—November 24, 2013
           Basis for release unknown, believed because of other Habeas
           Petitions and granted

           Mr. Butler        April 26, 2014—May 27, 2014
           Petition for Writ of Habeas Corpus Filed and Granted

           Ms. Clark       June 12, 2014—July 3, 2014
           Motion for Bond Reduction filed in criminal court and Granted

           Mr. Blackwell   June 12-2014—August 7, 2014
           Motion for Bond Reduction filed in criminal court and Granted



105. That while committing all of the acts above, Defendant Odom and Ms.

     Yahn, Ms. Haggard, and Ms. Courington were acting pursuant to

     “customs or practice” of WCCCO and “customs or practice” of other

     WCCCO personnel.

106. Defendants Odom and Ms. Yahn, Ms. Haggard, and Ms. Courington

     should have released the Plaintiffs within forty-eight (48) hours after

     each of their “warrantless arrest” “upon execution of an appearance

     bond in the amount of the minimum bond set in Rule 7.2” of the


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     Alabama Rules of Criminal Procedure.

107. That the Plaintiffs and their friends and family members inquired of

     the WCCCO periodically (almost daily) about whether or not ‘they

     had a court case or court date’ for the first two to three weeks after

     each of their respective arrests only to learn that there was yet to be a

     case created in District Court of Walker County, Alabama.

108. That said inquiries further put Defendants Odom and Ms. Yahn, Ms.

     Haggard, and Ms. Courington on notice that Plaintiffs were being

     detained in the Jail for more than forty-eight (48) hours without a

     probable   cause    determination     and   without   a   constitutional

     adjudication of guilt.

109. That Defendant Odom has set policy in the WCCCO that a district

     court case will not be created until such time as an arrest warrant

     (probable cause determination) is obtained and thereafter executed

     and returned to appropriate District Court Clerk for entry into the

     State of Alabama’s State Judicial Information System.

110. That Defendant Odom has set policy in the WCCCO that the WCCCO

     will not assign a ‘case number’ and will not accept district court

     filings, including bond related motions, until such time as a court case

     is created as set forth in the paragraph above.

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111.   That Defendants Odom and Ms. Yahn, Ms. Haggard, and Ms.

       Courington knew that a probable cause determination must be made

       within forty-eight (48) hours of making a “warrantless arrest” of a

       person or “the person shall be released upon execution of an

       appearance bond in an amount of the minimum bond set in Rule 7.2”

       of the Alabama Rules of Criminal Procedure.

112. That Defendants Odom and Ms. Yahn, Ms. Haggard, and Ms.

       Courington knew that the Plaintiffs could not file papers seeking

       release from their confinement until the processes set-out in the

       preceding paragraphs were complete.

113. That Defendants Odom and Ms. Yahn, Ms. Haggard, and Ms.

       Courington actions in failing to obtain a warrant within forty-eight

       (48) hours of each of the Plaintiffs’ arrest which prevented the

       creation of a court case equated to no bail on a bailable offense or to

       “locking them up and throwing away the key.”

114. That Defendant Odom had actual notice of Ms. Yahn, Ms. Haggard,

       and Ms. Courington’s pattern of conduct in unjustly failing to make “a

       probable cause determination” “without undue delay and in no event

       later than 48 hours after arrest” “of person[s] without a warrant”,

       including but not limited to:

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  a. The daily Jail roster that listed the persons detained in the Jail;

  b. Ms. Yahn traveled to the Jail no less than 13 times while Mr.

     Colbern was detained on a “warrantless arrest;”

  c. Ms. Yahn traveled to the Jail no less than 15 times while Mr.

     Rhodes, Mr. Elliott, and Mr. Cassels were detained on a

     “warrantless arrest;”

  d. Ms. Yahn traveled to the Jail no less than 14 times while Mr.

     Harrison was detained on a “warrantless arrest;”

  e. Ms. Yahn traveled to the Jail no less than 8 times while Mr.

     Butler was detained on a “warrantless arrest;”

  f. An unnamed person from the WCCCO traveled to the Jail on

     one occasion, May 9, 2014, while Mr. Butler was detained on a

     “warrantless arrest;”

  g. Ms. Yahn traveled to the Jail no less than 3 times while Ms.

     Clark was detained on a “warrantless arrest;”

  h. Ms. Yahn traveled to the Jail no less than 13 times while Mr.

     Blackwell was detained on a “warrantless arrest;”

  i. An unnamed person from the WCCCO traveled to the Jail on

     one occasion, July 11, 2014, while Mr. Blackwell was detained

     on a “warrantless arrest;”

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       j. The WCCCO on multiple occasions calling Huddleston and

          other members of the Walker County Sheriff Department and

          asking said Deputy Sheriffs to participate in a probable cause

          determination related to a “warrantless arrest” made by

          Huddleston and other Deputy Sheriffs;

       k. Numerous complaints being made to Defendant Odom and

          other WCCCO personnel by family members of persons where a

          “warrantless arrest” was made by various Deputy Sheriffs and

          the families were unable to get that person out of jail because

          there was ‘no paperwork;’

       l. Walker County Courthouse Circuity and District Judges and

          their staff members reporting same to Defendant Odom; and

       m. Defendant Odom verbally addressing Huddleston and other

          Deputy Sheriffs on numerous occasions related to the same type

          conduct complained of herein.

115. That Defendant Odom had actual notice of Ms. Yahn, Ms. Haggard,

     and Ms. Courington’s pattern of conduct in unjustly failing to make “a

     probable cause determination” “without undue delay and in no event

     later than 48 hours after arrest” “of person[s] without a warrant”,

     including but not limited to the following other instances:

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     Case Number       Date of Arrest    Number of days without
                                         Probable Cause Determination
     DC-2013-512       04/12/13          7
     DC-2013-513       04/12/13          7
     DC-2013-514       04/12/13          7
     DC-2013-517       04/12/13          7
     DC-2013-546       04/19/13          4
     DC-2013-547       04/20/13          3
     DC-2013-710       05/21/13          3
     DC-2013-711       05/21/13          3
     DC-2013-712       05/21/13          3
     DC-2013-902       06/23/13          5
     DC-2013-1142      06/22/13          48
     DC-2013-1144      06/19/13          51
     DC-2013-1295      08/30/13          11


116. That Defendant Odom had actual notice of Defendant Yahn, Haggard,

     and Courtington’s pattern of conduct as set forth with more

     specificity hereinabove.

117. That Defendant Odom, with knowledge of the foregoing, ignored a

     known or obvious risk that Ms. Yahn, Ms. Haggard, and Ms.

     Courington were highly likely to engage or continue to engage in the

     conduct of the nature described hereinabove and thereby continue to

     subject citizens to being detained and confined on a “warrantless

     arrest” for more than forty-eight (48) hours after arrest without

     seeking a probable cause determination and without a constitutional

     adjudication of guilt.


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118. That Defendant Odom acted with deliberate indifference in his failure

     to restrict Ms. Yahn, Ms. Haggard, and Ms. Courington from allowing

     citizens to be detained and confined on “warrantless arrests” for more

     than forty-eight (48) hours after arrest without seeking a probable

     cause determination and without a constitutional adjudication of

     guilt.

119. That Defendant Odom acted with deliberate indifference in her

     making of or failure to compose, implement, and enforce policies and

     procedures and to further train personnel to ensure compliance with

     same regarding the proper procedure for conducting probable cause

     determinations, releasing citizens who are being detained and

     confined on a “warrantless arrest” for more than forty-eight (48)

     hours after arrest when a probable cause determination has not been

     made thereby unconstitutionally compromising said citizens’ rights

     and liberties which are protected by laws, regulations, rules, and/or

     standards of operating procedures, as well as the laws and regulations

     of the State of Alabama, the Alabama Constitution, the United States

     Constitution, and 42 U.S.C. § 1983.

120. That Defendant Odom acted with deliberate indifference in her

     failure to compose, implement, and enforce policies and procedures,

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     and further train personnel to ensure compliance with same, and in

     doing so did allow each of the Plaintiffs and others as set forth

     hereinabove to be detained and confined on a “warrantless arrest”

     without seeking a warrant and without a constitutional adjudication

     of guilt resulting in the overt and egregious violations of Plaintiffs’

     constitutional rights.

121. That the foregoing facts support the inference that Defendant Odom

     directed Ms. Yahn, Ms. Haggard, and Ms. Courington to act

     unlawfully or knew that Ms. Yahn, Ms. Haggard, and Ms. Courington

     would act unlawfully and failed to stop them from doing so.

122. That while committing all of the acts above, Defendant Odom, Yahn,

     Haggard, and Courington were acting “under color of State law.”

123. That Ms. Yahn, Ms. Haggard, and Ms. Courington’s obvious, flagrant,

     and rampant behavior, has continued across a lengthy period of time

     and in doing so is sufficient to put Defendant Odom on notice of the

     widespread abuse and deprivations which resulted in the violation of

     citizens’ constitutional rights, including but not limited to, those

     events listed hereinabove.

124. That Defendant Odom has had direct notice of Ms. Yahn, Ms.

     Haggard, and Ms. Courington’s history of widespread abuse of policy,

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     procedure, and failure to follow protocol which resulted in the

     violation of citizens’ constitutional rights, including but not limited

     to, those events listed hereinabove, thereby giving Defendant Odom

     notice of the need to correct the deprivation.

125. That Defendant Odom had direct notice of Ms. Yahn, Ms. Haggard,

     and Ms. Courington’s history of widespread abuse of policy,

     procedure, and failure to follow protocol which resulted in the

     violation of citizens’ constitutional rights, including but not limited

     to, those events listed hereinabove, thereby giving Defendant Odom

     notice of the need to provide increased and/or adequate funding for

     policy implementation and training to address and correct the

     deprivation.

126. That as a result of Defendants’ concerted unlawful and malicious

     detention and confinement of Plaintiffs, Ms. Yahn, Ms. Haggard, and

     Ms. Courington deprived Plaintiffs, as described with more

     particularity hereinabove, of their personal liberty and civil rights

     without due process of law and their right to equal protection of the

     laws, and the due course of justice was impeded, in violation of the

     Fourth, Fifth, Eighth, Fourteenth Amendments of the United States

     Constitution, and 42 U.S.C. § 1983.

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127. That Defendants Odoms, Yahn, Haggard, and Courington’s conduct,

     as described with more particularity hereinabove, is so egregious as to

     amount to willful or malicious conduct or conduct engaged in bad

     faith and conduct exceeding gross negligence.

128. That in the aforesaid transactions the Defendants occupied towards

     Plaintiffs a superior position in that by law Defendants had a duty to

     protect the Constitutional rights of the Plaintiffs.



FEDERAL LAW CLAIMS:

                                COUNT ONE

        (Unlawful Detention and Confinement—Defendant Odom)
                   CIVIL RIGHTS—42 U.S.C. § 1983

129. Plaintiffs realleges and incorporates by this reference each and every

     allegation of each paragraph hereinabove as though set forth in full

     herein.

130. Defendant Odom and other members of the WCCCO, including but

     not limited to Ms. Yahn, Ms. Haggard, and Ms. Courington, in

     combination while acting under the color of State law conspired

     together in a concerted action and in doing so intentionally violated

     Plaintiffs’ constitutional right not to be detained and confined on a


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     “warrantless arrest” for more than forty-eight (48) hours after arrest

     without seeking a warrant and without a constitutional adjudication

     of guilt thereby depriving Plaintiffs of both their right to their liberty

     without due process of law and their right to equal protection of the

     laws, and the due course of justice was impeded, in violation of the

     Fourth, Fifth, Eighth, and Fourteenth Amendments of the United

     States Constitution and 42 U.S.C. § 1983.

131. Defendant Odom and other members of the WCCCO, including but

     not limited to Ms. Yahn, Ms. Haggard, and Ms. Courington, in

     combination while each was acting under the color of State law

     conspired together in a concerted action and in doing so did act with

     malice or reckless indifference to Plaintiffs’ federally protected rights

     and in doing so violated Plaintiffs’ constitutional right not to be

     detained and confined on a “warrantless arrest” for more than forty-

     eight (48) hours after arrest without seeking a warrant and without a

     constitutional adjudication of guilt thereby depriving Plaintiffs of

     both their right to their liberty without due process of law and their

     right to equal protection of the laws, and the due course of justice was

     impeded, in violation of the Fourth, Fifth, Eighth, and Fourteenth

     Amendments of the United States Constitution and 42 U.S.C. § 1983.

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132. All the acts or omissions of Defendant Odom other members of the

     WCCCO, including but not limited to Ms. Yahn, Ms. Haggard, and

     Ms. Courington, as described hereinabove, were done while

     Defendant Odom and other members of the WCCCO, including but

     not limited to Ms. Yahn, Ms. Haggard, and Ms. Courington, were

     purporting or pretending to act in the performance of official duty;

     that is, the unlawful acts were an abuse or misuse of power which

     Defendant Odom and other members of the WCCCO possessed only

     because of their position and because of the position those persons

     held members of the WCCCO.

133. The Plaintiffs continues to suffer mental anguish, psychological and

     emotional distress.

134. As a direct and proximate result of Defendant Odom’s actions,

     Plaintiffs was injured, damaged, and deprived of rights, privileges and

     immunities under the Fourth, Fifth, Eighth and Fourteenth

     Amendments to the United States Constitution and the laws of the

     State of Alabama.

135. The Plaintiffs claims damages against Defendant Odom for said

     constitutional violations as prayed for below in the “General Prayer

     for Relief” which is herein incorporated by reference.

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                              COUNT TWO

(Failure to Adequately Discipline, Train and Supervise—Defendant Odom)
                    CIVIL RIGHTS—42 U.S.C. § 1983

136. Plaintiffs realleges and incorporates by this reference each and every

     allegation of each paragraph hereinabove as though set forth in full

     herein.

137. The Defendant Odom as a matter of custom and practice, has with

     deliberate indifference, failed to adequately discipline, sanction, train,

     and supervise the day-to-day activities of the WCCCO, or otherwise

     direct members of the WCCCO concerning the rights of citizens,

     thereby causing Ms. Yahn, Ms. Haggard, and Ms. Courington in this

     case to engage in unlawful conduct described hereinabove.            This

     failure to train includes, but is not limited to, a failure to train

     personnel in the proper procedure of magistrates as the general use of

     their powers including detaining and confining citizens on a

     “warrantless arrest” for more than forty-eight (48) hours after arrest

     without seeking a warrant and without a constitutional adjudication

     of guilt but affording said citizens with the rights and liberties as

     required by laws, regulations, rules, and/or standards of operating

     procedures, as well as the laws and regulations of the State of Alabama,


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     the Alabama Constitution, the United States Constitution, and 42

     U.S.C. § 1983.

138. Defendant Odom, as a matter of custom and practice, has with

     deliberate indifference, failed to properly sanction or discipline

     WCCCO personnel, including Ms. Yahn, Ms. Haggard, and Ms.

     Courington in this case, for violations of constitutional rights of

     citizens, thereby causing other members of the WCCCO, including

     Ms. Yahn, Ms. Haggard, and Ms. Courington in this case, to engage in

     said unlawful conduct.

139. Ms. Yahn, Ms. Haggard, and Ms. Courington’s obvious, flagrant, and

     rampant behavior, has continued across a lengthy period of time and

     in doing so is sufficient to put Defendant Odom on notice of history of

     widespread abuse of policy, procedure, and failure to follow protocol

     which resulted in the violation of citizens’ constitutional rights,

     including but not limited to, those events listed hereinabove, thereby

     giving Defendant Odom notice of the need to correct the deprivation.

140. That the conduct of Ms. Yahn, Ms. Haggard, and Ms. Courington

     described herein was not an isolated incident, but instead, is just one

     incident evidencing a widespread custom and practice of said

     Defendants allowing Ms. Yahn, Ms. Haggard, and Ms. Courington to

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     engage in said unlawful conduct.

141. That Defendant Odom had actual and/or constructive notice of

     similar past acts or omissions of Ms. Yahn, Ms. Haggard, and Ms.

     Courington sufficient to place said Defendant on notice of Ms. Yahn,

     Ms. Haggard, and Ms. Courington’s propensity to engage in similar

     conduct   generally,   and    specifically   the   conduct   described

     hereinabove.

142. All of the aforementioned acts and others known to Defendant Odom

     placed Defendant Odom on notice of the need for additional funding

     to adequately discipline, sanction, train, and supervise the day-to-day

     activities of the WCCCO, generally, and to specifically discipline,

     sanction, train, and supervise personnel regarding the proper

     detaining and confining of citizens who have been brought to jail after

     a “warrantless arrest” and placed in the care, control, or supervision

     of magistrates of Defendant Odom and the WCCCO.

143. The Plaintiffs prays for damages against Defendant Odom for

     Defendant’s constitutional failure to adequately supervise, discipline

     and for the implicit approval of the unlawful detainment and

     confinement of persons without seeking a warrant and without a

     constitutional adjudication of guilt generally, which resulted in

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     Defendant’s continued wrongful actions under color of State law

     which proximately caused Plaintiffs to be injured and damaged.

144. The Plaintiffs prays for damages against Defendant Odom for

     Defendant’s failure to provide adequate funding to adequately

     discipline, sanction, train, and supervise the day to day activities of

     the WCCCO which proximately caused the constitutional failures set

     forth more specifically hereinabove, which resulted in the continued

     wrongful actions under color of State law which proximately caused

     Mr. Rhodes to be injured and damaged.

145. The Plaintiffs claims damages against Defendant Odom for said

     constitutional violations as prayed for below in the “General Prayer

     for Relief” which is herein incorporated by reference.



                            COUNT THREE

                     DECLARATORY RELIEF
               PURSUANT TO 28 U.S.C. §§ 2201 and 2202

146. Plaintiffs realleges and incorporates by this reference each and every

     allegation of each paragraph hereinabove as though set forth in full

     herein.

147. That the acts, omissions and/or conduct of Defendants Odom and


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     Walker County Circuit Clerk Office personnel, including Ms. Yahn,

     Ms. Haggard, and Ms. Courington, as described more particularly

     hereinabove, are the direct and proximate result of the Defendant’s

     failure to compose, implement, enforce policies and procedures,

     and/or provide adequate funding to effectuate the foregoing, to

     ensure the Walker County Circuit Clerk Office personnel are not

     violating the federally protected and Constitutional rights of citizens.

148. The Plaintiffs seeks declaratory relief and a preliminary and a

     permanent injunction ordering these defendants to compose,

     implement, and/or enforce proper existing policies or alternatively

     restraining them from continuing to engage in a pattern and practice

     of deliberate indifference and/or implicit approval of detaining and

     confining citizens without seeking a warrant and without a

     constitutional adjudication of guilt generally which is a violation of

     federally protected and Constitutional rights of citizens.

149. The Plaintiffs prays for declaratory relief as prayed for below in the

     “General Prayer for Relief” which is herein incorporated by reference.




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V.     GENERAL PRAYER FOR RELIEF:

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs prays for

the following relief:

     a. Compensatory damages as allowed by Federal and State law;

     b. Statutory damages pursuant to 42 U.S.C. §§ 1983 and 1988;

     c. Punitive damages as allowed by Federal and State law;

     d. Reasonable attorneys’ fees, court cost and expenses pursuant to 42

       U.S.C. § 1988 or otherwise appropriate;

     e. That the Court determine and declare the actions of Defendants

       Odom and Ms. Yahn, Ms. Haggard, and Ms. Courington to be

       improper, illegal and/or unconstitutional and as such void and

       without legal effect; and

     f. That the Court grant the Plaintiffs such other further relief as deemed

       fair and equitable.



VI.    JURY DEMAND:


                         PLAINTIFFS DEMANDS TRIAL BY JURY.


                          //s// Thomas L. Carmichael
                         Attorney for Plaintiffs


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                           Respectfully submitted,



                            //s// Thomas L. Carmichael
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Documents referenced mandated by the United States Court Of
Appeals for the Eleventh Circuit will be filed contemporaneously
herewith along with other supporting documents.




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